Exhibit 1
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translated
                                                                                 Page I of I




    (No subject)

    Cely Castillo




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                              las p9mp1s y men9s en          11 e!     : .
                              trabajo
                                     I


                           Y si Adama ve esa camara y yo
                           pierdo mi trabajo

           Ok es que no puedo resistirme
           They are to much
           Loi

    Sent from my iPhone




                                     Exhibit 2




https://outlook.live.com/mail/0/inbox/id/AQMkADAwATM3ZmYAZS I h YQAwOS ljOD...    5/22/2020
Exhibit 2
translated
Exhibit 3
Exhibit 4
Exhibit 4
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   ii�..
                                                       Cely Castillo
                                                  Lease Return Manager
                                              Effective: �           •, en,
                                                                Dec y z o 11          ,4 ,,�
This Agreement sets        h how wages, commissions and other monies are earned and paid during employment
and upon the termln       n of employment. This Agreement does not create an employment contract between you
and the dealership.       escribed in more detail throughout this pay plan, you will receive compensation primarily
through either a sala     r commissions or a combination of both based on the following related to your production.
However, you will al      s be paid the requisite minimum wage.

    1. Base Weeki         la : You shall be paid on a weekly basis of $600.00 salary, payable in accordance with the
       Company's p
    2. Commissions
                                        Monthly Bonus     for Lease Return Buyouts:
                                             0-9 lJnitS            $50.00 per car
                                            10-19 units            $75.00 per car
                                             20+ units            $100.00 per car

Each unit must be ap      ved by a Used Car Manager. In addition, you will receive $150.00 flat for any car you sell

    3.   Demo allowa
         Monthly Dem      llowance in the amount of $200.00
Notes:
Reconciliation of com     i sions will be done on a monthly basis. Adjustments to the Salesperson's compensation will
be made no later thar      he end of the pay period following the period in which the commission was earned. Upon
termination of emplo        ent, compensation shall be limited to actual deliveries as of that date. All commissions will
be held for one mont     i order to reconcile all monies.

    • TIME RECOR
Because you conside     commissioned employee of a service establishment, you are considered exempt from
overtime. However, y are required to punch In and out daily at the beginning of each shift, at the start and finish
of meal breaks, and at e end of each shift.

    • COMPLETE A
This agreement is th      otal pay package and no further payments are anticipated or expected. The Dealership
reserves the right to     end or terminate this compensation plan and/or rate at any lime without notice at its sole
discretion. No change      the pay plan will be effective unless in writing and signed by the General Manager. No oral
representations contr      to thispay plan are binding.

    • PAY PERIOD
Your wages, salary, c     missions and all other monies earned or payable in accordance with the terms of this pay
plan, but not less fre    ntly than once in each month and not later than the last day of the rnonth following the
month in which they       earned your pay plan has many components some that are payable weekly and others that
are paid monthly ass      your pay period is considered on a calendar month.
    •    CHANGES
If the dealership de es, pursuant to its legal right to do so, to amend or terminate this plan. then any
commissions/bonuses rned prior to amendment or termination of plan will be paid net of outstanding draws, 1f
applicable, on the nex cheduled payroll disbursement date.
     •   AT-WILL STA
I understand that not     g in this pay plan creates or is intended to create a promise of continued employment and
that my employment,       sition, and compensation is for no definite period, regardless of payment of wages. I have
                                                                                                                    1 I 3

                                               Exhibit 5
                                                   n1aza•
,_,__                                              t"AUTOMALL
                         employment at any time with or without notice, and the Dealership has a similar right
further understand th t my status as an "at-will" employee may not be changed except in writing signed by the
President of Plaza Aut  all
    •                  AND ADJUSTMENTS TO THE FINANCIAL STATEMENT
                      paid more than is called for under this pay plan, we reserve the right to deduct such amounts
                      ation due under this plan. Similarly, from time to time, we make adJustments to our financial
statements in accord e with normal accounting and business practices. We reserve the right to make these
adjustments, even tho h they may have effect of increasing or decreasing your future commissions or bonuses.
    •
Although the Dealers        hopes that employment disputes with its employees will not occur, the Dealership believes
that when these disp       s do arise, it is in the mutual interest of all concerned to handle them promptly and wrth a
minimum of disturban         to the operations of the Dealership and the lives of its employees. Accordingly, to provide
for more expeditious r      elution of certain employment-related disputes that may arise between the Dealership and
its employees, The D       ership has instituted a mandatory mediation and arbitration procedure for all employees
Under the Procedure,        rtain disputes that may arise from your employment with Dealership or the termrnation of
your employment m              (after appropriate attempts to resolve your dispute internally through Dealerships
management channel           be submitted for resolution by non-binding mediation and, if necessary, mandatory
arbitration. In agreein    o submit certain employment disputes for resolution by private mediation and (if necessary)
arbitration, you ackn      ledge that this Agreement is given in exchange for rights to which you are not otherwise
entitled -namely, you      employment/ continued as an employee at the Dealership and the more expeditious
resolution of employ       nt disputes. In exchange for your agreement to submit these disputes to mediation and (if
necessary) binding arb     ation, the Dealership likewise agrees to the use of mediation and arbitration as the exclusive
forum for resolving e       loyment disputes covered by this Agreement. Hence, the parties shall be precluded from
bringing or raising in c     rt or another forum any dispute that was or could have been brought or raised under the
procedures set forth i      this Agreement. As part of this pay plan you must also sign the Dealership's arbitration
agreement which is at      ched.

     • SEVERABLITY
If any part of this agre    ent is declared unenforceable or invalid, the remainder will continue to be valid and
enforceable

    • SUPERCEDES L PRIOR AGREEMENTS
This Agreement super des any prior understandings and agreements regarding compensation. It shall remain 1n
effect until �upersede ya subsequent written agreement, signed by both the Salesperson and the Company

ACKNOWLEDGMENT          RECEIPT OF LEASE RETURN MANAGER PAY PLAN
We do reserve the righ to change this Pay Plan from time to time as business conditions dictate. We also reserve the
right to make adjustm ts to your commissions for charge backs or previous overpayments. Finally, this pay plan is
not intended to be an mployment contract" or a contract for any particular terms.

By signing below, you e acknowledging that you have read and agree to the terms of the foregoing description of
the current Lease Retu Department Compensation Program.



                           rn M;in;ie Pr                                    Adam Rosatti, General M,maRer




                                               Exhibit 5                                                            2 I 3
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Arbitration Agreemen
In consideration of m mployrnent with Plaz.a Motors of Brooklyn, Inc ("Employer"), its promise to arbitratP ;ill
emriloyment -related d utes and my receiµl of the compensation, pay raises and other benefits paid to me by the
Employer, at present d in the future, I agree that any and all controversies, claims, or disputes with anyone
(including the Employ      nd any employee, agent of the Employer in their capacity as such or otherwise) arising out
of, relating to, or resu i g from my assignment and or employment with the Employer or the termination of my
assignment or employ nt with the Employer, including any breach of this agreement, shall be subject to binding
arbitration under the F     ral Arbitration Act and pursuant to New York law. Disputes which I agree to arbitrate, and
thereby agree to waiv       y right to a trial by jury, include any statutory claims under state or federal law, including,
but not limited to, cla1 arising under Title Vil of the Civil Rights Acts of 1866, 1871, 1964 and 1992; the Employee
Retirement Income Se ity Act of 1974, as amended; the Occupational Safety and Health Act; the National Labor
Relations Act, as amen      ; the Americans with Disability Act of 1990; the Age Discrimination in Employment Act, as
amended; the Worker         justment and Retraining Notification Act; the Pregnancy Discrimination Act; Fair Labor
Standards Act, as ame ed, Family Medical Leave Act, the New York State Human Rights Law, New York State
 Executive Law, the Ne ork City Administrative Code and any other Federal, State and local statutes including but
not limited labor and age statutes, regulations, decisional law and ordinances and all human rights, fair
employment, contract         tort laws. I further understand that this agreement to arbitrate also applies to any disputes
that the Employer may ve with me.
I agree that any contr rsy, claim, or dispute arising out of or relating to my employment and/or cessation of
employment shall be se d exclusively by binding arbitration administered. Any arbitration will be administered by
ADR Systems of Americ .L.C. ("ADR"). A neutral arbitrator will be selected in a manner consistent with ADR's rules
and procedures for the r solution of the dispute. I agree that the arbitrator shall have the power to decide any
motions brought by an arty to the arbitration, including motions for summary judgment and/or adjudication and
motions to d1sm1ss and murrers, prior to any arbitration hearing. I also agree that the arbitrator shall have the
power to award any re dies, including attorneys' fees and costs, available under applicable law. I understand the
Employer will pay for a    dministrative or hearing fees charged by the arbitrator or ADR except that I �hall pay the
first $500.00 of any film  es associated with any arbitration I initiate. I agree that the arbitrator shall administer and
conduct any arbitration 1 a manner consistent ADR's procedures and the applicable rules of civil procedure, and that
to the extent that the A 's rules and procedures shall take precedence. I agree that the decision of the arbitrator
shall be in writing.

This Agreement shall ex I itly exclude the requirement to arbitrate any claims by the Employer for injunctive relief.
which may be brought i court of competent jurisdiction.
 Furtherrno1e, I ag1ee th any controversy, claim, or dispute covered by this Agreement will be arbitrated on an
individllal basis. No cont ersy, claim, or dispute between an employee and Employer may be consolidated 01
joined with a dispute bet een any other employee and Employer nor may an individual employee seek to bring
his/her dispute on behal f other employees as a class or collective action. Except as provided by this Agreement,
arbitration shall be the s , exclusive and final remedy for any dispute between the Employer and me.
I agree to file any dtsput   r claim for loss, damages or liability for arbitration within six (6) months from the date of
the event that I esulted i    e loss, inJury, damage or liability or the shortest duration permitted under applicable law
and without regard to a      other limitations period set forth by law or statute.
Accordingly, except as pr ided for by this Agreement, neither the Employer nor I will be permitted to pursue court
action regarding claims t   are subject to arbitration. Notwithstanding, the arbitrator will not have the authority to
disregard or refuse to enf ce this Agreement, and the arbitrator shall not order or require the Employer to adopt a
policy not otherwise requ d by law which the Employer has not adopted.
I also understand that I h e a right to consult with a person of my choosing, including an attorney, before s1gn1ng
this document. I agree to aive my voluntarily and knowingly, and free from any duress or coercion whatsoever to a
trial by a trail Judge 01 Jur s well as my right to participate in a class or collective action.




  +
(Employee Signature)                       Print Name                                 Date



                                                Exhibit 5
Exhibit 6
Exhibit 7
Exhibit 8
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                                                        ntazac:iiiii;
                                                        t'AUTOMALL
                                                           Thomas McAvoy
                                                             Fleet Manager
                                                      Effective: January 29, 2020

      This Agreement sets forth how wages, commissions and other monies are earned and paid during employment
      and upon the termination of employment. This Agreement does not create an employment contract between you
      and the dealership. As described in more detail throughout this pay plan, you will receive compensation primarily
      through either a salary or commissions or a combination of both based on the following related to your production.
      However, you will always be paid the requisite minimum wage.

           1. Base Weekly Salary: You shall be paid on a weekly basis of $500.00 salary, payable in accordance with the
              Company's payroll policy.
           2. Commissions: You have the opportunity to earn Monthly Variable Compensation. The Monthly Compensation
              will be paid monthly before the end of each subsequent month in which it is earned, and will be calculated as
              follows:
                         $75.00        per vehicle
                         $25.00        Bonus per car if CXI, Bluelink, Survey Response and all other performance
                                       objectives set by manufacturer are met or exceeded.
      In order to be paid on a deal it must be funded. If a deal is not funded within ten calendar days, the bonus will be
      reduced to 50%. If a deal is not funded within thirty calendar days, the bonus will be forfeited.

      Notes:
      Reconciliation of commissions will be done on a monthly basis. Adjustments to the Fleet Managers compensation
      will be made no later than the end of the pay period following the period in which the commission was earned. Upon
      termination of employment, compensation shall be limited to actual deliveries as of that date. All commissions will
      be held for one month in order to reconcile all monies.

          • TIME RECORDS
      Because you considered commissioned employee of a service establishment, you are considered exempt from
      overtime. However, you are required to punch in and out daily at the beginning of each shift, at the start and finish
      of meal breaks, and at the end of each shift.

          • COMPLETE AGREEMENT
      This agreement is the total pay package and no further payments are anticipated or expected. The Dealership
      reserves the right to amend or terminate this compensation plan and/or rate at any time without notice at its sole
      discretion. No changes to the pay plan will be effective unless in writing and signed by the General Manager. No oral
      representations contrary to this pay plan are binding.

         • PAYPERIOD
     Your wages, salary, commissions and all other monies earned or payable in accordance with the terms of this pay
     plan, but not less frequently than once in each month and not later than the last day of the month following the
     month in which they are earned your pay plan has many components some that are payable weekly and others that
     are paid monthly as such your pay period is considered on a calendar month.

          • CHANGES
     If the dealership decides, pursuant to its legal right to do so, to amend or terminate this plan, then any
     commissions/bonuses earned prior to amendment or termination of plan will be paid net of outstanding draws, if
     applicable, on the next scheduled payroll disbursement date.

          • AT-WILL STATUS
     I understand that nothing in this pay plan creates or is intended to create a promise of continued employment and
     that my employment, position, and compensation is for no definite period, regardless of payment of wages. I have


                                                      Exhibit 9                                              Page 113
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                                                       n1aza(iii;
                                                       t'AUTOMALL
      the right to terminate my employment at any time with or without notice, and the Dealership has a similar right. I
      further understand that my status as an "at-will" employee may not be changed except in writing signed by the
      President of Plaza Auto Mall.

           • OVERPAYMENTS AND ADJUSTMENTS TO THE FINANCIAL STATEMENT
      In the event that you are paid more than is called for under this pay plan, we reserve the right to deduct such amounts
      from any future compensation due under this plan. Similarly, from time to time, we make adjustments to our financial
      statements in accordance with normal accounting and business practices. We reserve the right to make these
      adjustments, even though they may have effect of increasing or decreasing your future commissions or bonuses.

           • DISPUTES OR QUESTIONS
      Although the Dealership hopes that employment disputes with its employees will not occur, the Dealership believes
      that when these disputes do arise, it is in the mutual interest of all concerned to handle them promptly and with a
      minimum of disturbance to the operations of the Dealership and the lives of its employees. Accordingly, to provide
      for more expeditious resolution of certain employment-related disputes that may arise between the Dealership and
      its employees, The Dealership has instituted a mandatory mediation and arbitration procedure for all employees
      Under the Procedure, certain disputes that may arise from your employment with Dealership or the termination of
      your employment must (after appropriate attempts to resolve your dispute internally through Dealerships
      management channels) be submitted for resolution by non-binding mediation and, if necessary, mandatory
      arbitration. In agreeing to submit certain employment disputes for resolution by private mediation and (if necessary)
      arbitration, you acknowledge that this Agreement is given in exchange for rights to which you are not otherwise
      entitled--namely, your employment/ continued as an employee at the Dealership and the more expeditious
      resolution of employment disputes. In exchange for your agreement to submit these disputes to mediation and (if
      necessary) binding arbitration, the Dealership likewise agrees to the use of mediation and arbitration as the exclusive
      forum for resolving employment disputes covered by this Agreement. Hence, the parties shall be precluded from
      bringing or raising in court or another forum any dispute that was or could have been brought or raised under the
      procedures set forth in this Agreement. As part of this pay plan you must also sign the Dealership's arbitration
      agreement which is attached.

           • SEVERABLITV
      If any part of this agreement is declared unenforceable or invalid, the remainder will continue to be valid and
      enforceable.

         • SUPERCEDES ALL PRIOR AGREEMENTS
     This Agreement supersedes any prior understandings and agreements regarding compensation. It shall remain in
     effect until superseded by a subsequent written agreement, signed by both the Salesperson and the Company.

     ACKNOWLEDGMENT OF RECEIPT OF LEASE RETURN MANAGER PAV PLAN
     We do reserve the right to change this Pay Plan from time to time as business conditions dictate. We also reserve the
     right to make adjustments to your commissions for charge backs or previous overpayments. Finally, this pay plan is
     not intended to be an "employment contract" or a contract for any particular terms.

     By signing below, you are acknowledging that you have read and agree to the terms of the foregoing description of
     the current Lease Return Department Compensation Program.
                      DocuSignod by:                                                             DocuSignod by:
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                    fu�i,.,S fl¼Jl��
                      lllrt'>lHMrt'tbh14JF
                                                                                            [2 a��s�
                                                                                                669202522030402 ..
     Thoma:; McAvoy, Fleet Manager                                              Adam Rosatti, General Manager




                                                    Exhibit 9                                                        Page 213
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                                                         pl06'!,ffiHH.ffi
      ArbiUation Agreement
      ln consideration of my employment with Plaza Motors of Brooklyn, lnc ("Employer"), its promise to arbitrate all
                              disputes ind my receipt of the compensation, pay raises and other benefits paid to me by the
      Employer, at present and in the fuiure, lagree that any and all.controversies, claims,. or disputes with anyone
      "rpt"Vr"r,t-*iatea
                                                                                                                              out
      [i".ira1.e the imployer and any employee, agent of the Employer in their capacity as such or otherwise) arising-
      of, relatiig to, or reiulting from my asiignment and or employment with the Employer or the termination of my
                    ti.rpioyr"it *ith thl employer, including any breach of this agreement, shallI agree  be subject to binding
      "r'tignr"ni
      irbiirition under ihe'Federal   Arbitration Act and  pursua-nt  to New  York law. Disputes which         to arbitrate,.and
      thereby agree to waive any right to a trial by jury, include any statutory claims un{er state or federal law, including,
      uui noi tiilitea to, claims arisine under TitleVlt 6i the Civil Riehts Acts of 1866, t87L,1964 and 1992; the Employee
      Retirement lncome Seiurity Aciof 1974, as amended; the O-cupationalsafety and Health Act; the National.Labor
      Relations Act, as amended; ihe Americans with Disability Act of 1990; the Age Discrimination in Employment Act, as
      ;;;;il; thl Worier Adjustment and Retraining Notification Act; the Pregnancy               Discrimination Act; Fair Labor
      Standardj Act, as amended, Family Medical Leavl Act, the New York State Human Rights Law, New York State
      Executive Law, the New yori City Administrative Code and any other Federal, State and local statutes including but
      not limited labor and wage siatutes, regulations, decisional law and ordinances and all human rights, fair
      employment, contract and t6rt laws. I further understand that this agreement to arbitrate also applies to any disputes
      that the Employer may have with me.
      I agree that any controversy, claim, or dispute arising out of or relating to my employment and/or cessation of
                    if,lf t U" settled exclusively by 6indine arbitration administered. Any arbitration will be administered by
      "rifovr"nt
      AOi   Svtt"rs of America, L.L.C. ("ADR"i. A neutrafarbitrator will be selected in a manner consistent with ADR's rules
            pi"i"jrres for the'resolution of ihe dispute, I agree that the arbitrator shall have the power to decide any
      ""0
      *otibnr brought by any party to the arbitration, including motions for summary judgment and/or adjudi.ca.tion and
      motions to diimiss and iierrrrers, prior to any arbitration hearing. I also agree that the arbitrator shall have the
      po*"r io awird            r"r"di"s, including attornlys' fees a.nd costs, available under applicable law. I understand the
      Er;i;f r;if] piv"ny   ti,r any administrativJ or hearing fees charged by the arbitrator 9r AD.R except that l.shall pav the
      nri[SsOO.oo oi.ny filine'fees associated with any arbitration f initiate. I agree that the arbitrator shall administer and
      conduct any arbitrationln a manner consistent AbR's procedures and the applicable rules of civil procedure, and that
      to ttre extent that the ADR's rules and procedures shalltake precedence. I agree that the decision of the arbitrator
      shall be in writing.

      This Agreement shall explicitly exclude the requirement to arbitrate any claims by the Employer for injunctive relief,
      which may be brought in a court of competent jurisdiction.

        Furthermore, I agree that any controversy, claim, or dispute covered by this.Agreement will be arbitrated on an
       individual baiis. tr,lo .ontiou"iry, claim, or'dispute between an employee and Employer.may be consolidated or
       j"i""j *ittr i Jispute between fny other employee.and Employer nor may an individual employee seek to bring
       hlti f,"r dispute on behalf of otheiemployees as a class or collective action. Except as provided by this Agreement,
       arbitration'shall be the sole, exclusive and final remedy for any dispute between the Employer and me.
       I agreeto file any dispute or claim for loss, damages or liability for arbitration within six (6) months from the date of
       thJevent that resulted in the loss, injury, damagJor liability or the shortest duration permitted under applicable law
       and without regard to any other limitations period set forth by law or statute.

       Accordingly, except as provided for bythis Agreement, neither the Employer nor I will be perm.itted to pursue court
              i"E"'iaine itaims that are subjett to ar6itration. Notwithstanding, the arbitrator will not have the authority to
       ".ti""
       ;L;;;"rJ;r r"f-rr" to enforce this Agreement, and the arbitrator shall not order or require the Employer to adopt a
       policf not otherwise required by law which the Employer has not adopted.

       I also understand    that I have a right to consult with a person of my choosing, including an attorney, before signing
       this document. I agree to waive riy voluntarily and knowingly, and free from any duress or coercion whatsoever to a
       trial by a trail judge or jury as well as my right to participate in a class or collective action,


                     Oocusigned by:

                                                         Thomas McAvoy                          2   / t8/2020
                    fluul,;s    ltulwl
       (Employee Signature)                       Print Name                                Date



                                                         Exhibit 9                                                  I'age 313
Exhibit 10
Exhibit 10
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Exhibit 11
Exhibit 12
Exhibit 12
Exhibit 13
